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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
MICHAEL REEVES,

                                   Plaintiff,
                 -against-                                               19 CIVIL 8629 (SN)

                                                                           JUDGMENT
UNITED STATES OF AMERICA,

                                    Defendant.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 2, 2020, the Government's motion to

dismiss for lack of subject matter jurisdiction is granted. Because the Court has determined that it

does not have jurisdiction to hear these claims, there is no need to address the Government's

remaining arguments; accordingly, this case is closed.

Dated: New York, New York

          November 2, 2020


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
